Case 1:20-cv-00458-HG-RT Document 1-2 Filed 10/26/20 Page 1 of 1

3S 44 (Rev. 12/12)

The JS 44 civil cover sheet and the information contained herein neither replace nor sup;
provided by local rules of court. This form, approved by the Judicial Conference of the

CIVIL COVER SHEET

nited States in

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

plement the filing and service of pleadings or other papers as required by
tember 1974, is required for the use of the Clerk of Court for the

PagelD #: 59

law, except as

 

I. (a) PLAINTIFFS

JORGE RIVERA AND JENNIFER RIVERA, Individually, and on Behalf

of Their Minor Child, J.R.

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

enh. SEE Oey Ia Has BETS R Aseeaates

820 Mililani St. Ste. 502
Honolulu, Hi 96813

Pali Palms Plaz

ACLU Hawaii
P.O. Box 3410
970 N. Kalaheo St. A301 Hnl., HI 96801

NOTE: INLAND
THE TRA‘

Attomeys (If Known)

 

County of Residence of First Listed Defendant

CAP RRBRAURT OF HONOLULU; KIRK UEMURA: ARTIE
KENDALL; DOE DEFENDANTS 1-10

(IN U.S. PLAINTIFF CASES ONLY)

CONDEMNATION CASES, USE THE LOCATION OF
CT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Piace on “x” in One Box Only)

 

 

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only) and One Box for Defendant)
O11 U.S. Government 93 Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State “1 1 Incorporated or Principal Place o4 4
of Business In This State
O 2 U.S. Government O04 Diversity Citizen of Another State Q 2 O 2 Incorporated and Principal Place QO5 O05
Defendant (indicate Citizenship of Parties in Item Hi) of Business In Another State
Citizen or Subject of a O 3 © 3 Foreign Nation 06 o6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
(——conmracr TORTS FORFEITURE/PENALTY |" BANKRUPTCY | OTHER STATUTES J
GC 110 Insurance PERSONAL INJURY PERSONAL INJURY  |C 625 Drug Related Seizure G& 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine O 30 Airplane © 365 Personal Injury - of Property 21 USC 881 [© 423 Withdrawal O 400 State Reapportionment
O 130 Miller Act O 315 Airplane Product Product Liability © 690 Other 28 USC 157 © 410 Antitrust
© 140 Negotiable Instrument Liability O 367 Health Care/ @ 430 Banks and Banking
© 150 Recovery of Overpayment | © 320 Assault, Libel & Pharmaceutical © 450 Commerce
& Enforcement of Judgment Stender Personal Injury CG 820 Copyrights © 460 Deportation
CO 151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent O 470 Racketcer Influenced and
G 152 Recovery of Defaulted Liability © 368 Asbestos Personal © 840 Trademask Cormpt Organizations
Student Loans O 340 Marine Injury Product _. © 480 Consumer Credit
(Excludes Veterans) © 345 Marine Product Liability LABOR O 490 Cable/Sat TV
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY |0) 710 Fair Labor Standards © 861 HIA (1395ff) O 850 Securities/Commodities/
of Veteran's Benefits O 350 Motor Vehicle O 370 Other Fraud Act © 862 Black Lung (923) Exchange
CO 160 Stockholders’ Suits O 355 Motor Vehicle © 371 Truth in Lending O 720 Labor/Management © 863 DIWC/DIWW (405(g)) | CO 890 Other Statutory Actions
© 190 Other Contract Product Liability © 380 Other Personal Relations O 864 SSID Title XVI © 891 Agricultural Acts
© 195 Contract Product Liability | 360 Other Personat Property Damage O 740 Railway Labor Act O 865 RSI (405(g)) © 893 Environmentat Matters
O 196 Franchise Injury ©) 385 Property Damage O 751 Family and Medical O 895 Freedom of Information
O 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice 3 790 Other Labor Litigation O 896 Arbitration
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS || 791 Employee Retirement D TAX SUITS OC 899 Administrative Procedure
O 210 Land Condemnation &% 440 Other Civil Rights Habeas Corpus: Income Security Act O 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
O 220 Foreclosure CO 441 Voting O 463 Alien Detainee or Defendant) Agency Decision
© 230 Rent Lease & Ejectment © 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party C1 950 Constitutionality of
© 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 State Statutes
C 245 Tort Product Liability Accommodations O +530 Genera!
© 290 All Other Real Property 0 445 Amer. w/Disabilitics -| J 535 Death Penalty IMMIGRATION
Employment Other: OC) 462 Naturalization Application
D 446 Amer. w/Disabilitics -] 540 Mandamus & Other |) 465 Other Immigration
Other O 550 Civil Rights Actions
CG 448 Education ©) 555 Prison Condition
© 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
31 Original O02 Removed from OG 3° Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Multidistrict
Proceeding State Court Appellate Court Reopen (pepe District Litigation
(speci

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under wh
42 U.S.C. Section 1983

Brief description of cause:
Violations of civil rights secured by the Fourt, Fifth, and Fourteenth Amendments to the United States Constitution

VII. REQUESTED IN (0 CHECK IF THIS IS A CLASS ACTION

DEMAND $

ich you are filing (Do not clte jurisdictional statutes unless diversity):

CHECK YES only if demanded in complaint:

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: Yes ONo
VIII. RELATED CASE(S) insructions)
IF ANY Gee nsoricions): GE ee __ DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
10/26/2020 Kevin A. Yolken
FOR OFFICE USE ONLY
RECEPT # AMOUNT APPLYING FFP JUDGE MAG. JUDGE

 
